UNITED STATES DI_STRICT COURT
ARIZONA - PHOENIX

 

 

February 2, 2018
USA v. Douglas Haig Case Number: 18-00105MJ-001-PHX-MHB
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)x
PERSONAL RECOGNIZANCE FEB 2 2018
l:| AMOUNT OF BOND $

|I| UNSECURED cLEaK u s DISTT§§SSHHT

l:l sEcURED BY BY LUJUA DEPUTY

SECURITY TO BE POSTED BY

 

 

 

 

NEXT APPEARANCE 2115/2018 at 11:&') AM or as directed through counsel
§ 401 West Washington, Phoenix, AZ Courtroom 304

I'I` IS ORDERED that defendant is subject to the following conditions and shall:

appear at all proceedings as required and to surrender for service of any sentence imposed.
not commit any federal, state or local crime.
cooperate in the collection of a DNA Sample if the collection is authorized by 42 U.S.C. § 141353.

immediately advise the court, defense counsel and U.S. Attorney in writing of change in
address/telephone number.

maintain or actively Seek verifiable employment if defendant is physically or medically able and provide
proof of such to Pretrial Services.

not travel outside of: Arizona and Nevada except Defendant may travel directly to the prosecuting district,
and through all states and counties in between the District of Arizona and the prosecuting district, for
Court purposes and lawyer conferences only unless express PRIOR Court or Pretrial Services permission
is granted to do so.

avoid all direct or indirect contact with persons who are considered alleged victim(s), potential
witness(es), family members of victim(s)/witness(es), and/or i:| the custodial parent.

report as directed to the U.S. PRETRIAL SERVICES 1-800-769-7609 or 602-322-7350.

report as directed to the U.S. PROBATION OFFICE 602-322-7400 and abide by all terms of conditions of
Supervised Release/Probation. _H

execute an agreement to forfeit upon failing to appear as required, the bond or designated

property: .
Defendant is placed in the third party custody of .

refrain from excessive use of alcohol and not use or possess any narcotic or other controlled substance
defined by 21 U.S.C. 802 unless prescribed for defendant by a licensed medical practitioner in the course
of his/her legitimate medical practice. This provision does not permit the use or possession of medicinal
marijuana even with a physician's written certification

participate in drug/alcohol counseling/treatment and submit to drug/alcohol testing, including
breathalyzer testing and make copayment toward the cost as directed by U. S. Pretrial Services. The
defendant shall not interfere, obstruct or tamper in any Way With the administration of any Court ordered
substance abuse testing.

Shall surrender all travel documents to Pretrial Services by 5:00 pm on 2/5/2018 and will not obtain a
passport or other travel document during the pendency of these proceedings

USA v. Douglas Haig Casc Number: 18-00105MJ-001-PHX-MHB

 

February 2, 2018 Page 2 of 3
l:l obtain no passport.

§ not possess or attempt to acquire any firearm, destructive device, or other dangerous weapon or
ammunition Defendant shall remove any weapons, ammunition, reloading and ammunition equipment,
and firearms from his possession or home by 5 :00 pm on 2/7/2018. Defendant shall provide proof of
such to his Pretrial Services Officer.

gi maintain weekly contact with Attorney Marc Victor by I_?riday, noon of each week.

l:l shall timely pay his/her monthly child support payments as previously ordered by the subject state court in
the total amount of $

l:l The defendant shall actively participate in any mental health treatment program as directed by Pretrial
Services. The defendant shall comply with all treatment requirements including taking all medication as
prescribed by his/her mental health care provider.

ft Defendant shall provide a urine sample immediately following his release from custody.

ADVICE OF PENALTIES AND SANCTIONS
The commission of any offense while on pretrial release may result in an additional sentence upon
conviction f`or such offense to a term of imprisonment of not more than ten years if the offense is a felony or a term
of imprisonment of not more than one year if the offense is a misdemeanor. This sentence shall be consecutive to
any other term of imprisonment

Title 18 U.S.C. §1503 makes it a criminal offense punishable by imprisonment for life or by death, or,
depending upon the specific provisions of the section not more than twenty years or by not more than ten years,
and a $250,000 fine to intimidate a juror or officer of the court; Title 18 U.S.C. §1510 makes it a criminal offense
punishable by up to five years imprisonment and a $250,000 fine to obstruct a criminal investigation; Title 18
U.S.C. §1512 makes it a criminal offense punishable by imprisonment for life or by death, or, depending upon
the specific provisions of the section by not more than twenty years or by not more than ten years and a $250,000
fine for tampering with a witness, victim or informant; or by intentionally harassing another person and thereby
hindering /delaying /preventing or dissuading any person from attending or testifying in an official proceeding or
otherwise violating the section is punishable by imprisonment for not more than one year and a $25 0 000 fine; and
18 U. S.C. §1513 makes it a criminal offense punishable by imprisonment for life or by death, or, depending upon
the specific provisions of the section not more than twenty years or by not more than ten years of lmprisonment,
a fine of $250, 000, or both, to retaliate against a witness, victim or informant, or threaten or attempt to do so.

It is a criminal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly fails
to appear as required by the conditions of release, or to surrender for the Service of sentence pursuant to a court
order. lf the defendant Was released in connection With a charge of, or While awaiting sentence, surrender for the
service of a sentence, or appeal or certiorari after conviction, for:(l) an offense punishable by death, life
imprisonment, or imprisonment for a term of fifteen years or more, the defendant shall be fined not more than
$250, 000 or imprisoned for not more than ten years, or both ,(2) an offense punishable by imprisorunent for a term
of five years or more, the defendant shall be fined not more than $250, 000 or imprisoned for not more than five
years or both ,(3) any other felony, the defendant shall be fined not more than $250, 000 or imprisoned not more
than two years, or both' ,(4) a misdemeanor, the defendant shall be fined not more than $100, 000 or imprisoned not
more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail
_ posted.

If the person was released for appearance as a material witness, a fine as provided by law or imprisonment
(or both) may be imposed for not more than one year.

USA v. Douglas Haig Case Number: 18-00105MJ-001-PHX-MHB

 

February 2, 2018 Page 3 of 3

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that l am aware of the conditions of releasel I
promise to obey all conditions of release, to appear as directed, and to surrender for service of any sentence
imposed. l am aware of the penalties and sanctions set forth above.

 

DATE S'IGNATURE OF DEFENDANT

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Custodian agrees to (a) supervise-66 defendant in accordance with all conditions of release, (b) to use
every effort to assure the appearance of the defendant at all scheduled court proceedings, and to notify the court
immediately in the event the defendant violates any condition of release or disappears. We, the undersigned, have
read and understand the terms of this bond and conditions of release and acknowledge that we are bound by it until .
duly exonerated

 

SIGNATURE OF CUSTODIAN(S)

 

 

 

Directions to United States Marshal:
|Z The defendant is ORDERED released after processing.

l:l Th`e United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or
judicial officer that the defendant has posted bond and/or complied with all other conditions of release.

DATE February 2, 2018 M

 

Michelle H. Burns
United States Magistrate Judge

USA, PTS/PROB, USM, DEFT, DEFT ATTY

